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                          EXHIBIT A
                        Proposed Order
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 -----------------------------------------------------x
                                                      :       Chapter 11
 In re:                                               :
                                                      :       Case No. 23-11131 (THM)
          AMYRIS, INC., et al.,                       :
                                                      :       Jointly Administered
                                     Debtors.         :
                                                      :
 -----------------------------------------------------x

   ORDER APPROVING STIPULATION WITH JPMORGAN CHASE BANK, N.A.

        This matter coming before the Court upon the Stipulation with JPMorgan Chase Bank,

N.A., (I) Authorizing Debtor to (A) Submit Application and Agreement for Issuance of Letter of

Credit , and (B) Obtain Credit Under Letter of Credit Agreement Secured By Assignment of

Cash Security, and (II) Modifying The Automatic Stay to Allow Application of Assigned Cash

Security Under Terms of Letter of Credit Agreement entered into between Amyris, Inc.

(“Amyris”), debtor and debtor in possession (Amyris and its affiliated debtors, collectively, the

“Debtors”), and JPMorgan Chase Bank, N.A. (“JPM” and, together with Amyris, the “Parties”)

(this “Stipulation”), the Court having reviewed the Stipulation, IT IS HEREBY ORDERED

THAT:

        1.       The Stipulation attached hereto as Exhibit A is approved.

        2.       The Parties are authorized to enter into, perform and consummate the transactions

set forth in and contemplated under the Stipulation.

        3.       The automatic stay is modified in favor of JPM on the terms and conditions as

set forth in the Stipulation.

        4.       Pursuant to Sections 362(a) and 364(c) and (d) of the Bankruptcy Code, the rights

and relief accorded to JPM and further Amyris’ obtaining of credit, grants of liens and payments

of obligations as set forth in the Stipulation are hereby authorized and approved.


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          5.        The Parties to the Stipulation are authorized to take all action necessary or

appropriate to implement the Stipulation.

          6.        This Court shall retain jurisdiction to resolve any and all disputes arising from or

related to the Stipulation or this Order.

          7.        The Stipulation shall become effective immediately upon entry of this Order.




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